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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SAMIRA SIERRA, AMALI SIERRA,
RICARDO NIGAGLIONI, ALEX GUTIERREZ,
and CHARLES WOOD, on behalf of themselves
and all others similarly situated,

Plaintiffs,
-against-

CITY OF NEW YORK, a municipal entity; and
BILL DE BLASIO, TERENCE A. MONAHAN,
KENNETH LEHR, ROBERT GALLITELLI,
HARRY WEDIN, JOHN D’ADAMO, GERARD

DOWLING, JULIO DELGADO, KENNETH RICE,

THOMAS GARGUILO, JOHN MIGLIACCIO,
THOMAS MOSHER,
Defendants.

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20-CV-10291 (CM)(GWG)
20-CV-10541 (CM)(GWG)

CONFIDENTIALITY STIPULATION AND ORDER CONCERNING
THE ADMINISTRATION OF CLASS ACTION SETTLEMENT

WHEREAS, on March 3, 2023, the Court so-ordered the Parties’ Stipulation of

Settlement and Order dated February 28. 2023 (“Stipulation”) (Dkt. 890), which set forth the

terms and conditions for a proposed class settlement, granted preliminary approval of the

proposed Class Action Settlement, and appointed Rust Consulting, Inc. as Claims Administrator;

and

WHEREAS, paragraph 53 of the Stipulation, provided that “the Parties will

submit to the Court a proposed confidentiality order related to the release of (personal identifying

information about the Class Members] to the Claims Administrator,” Class Counsel, and certain

relevant City agencies: and

WHEREAS, for purposes of disseminating notice to members of the Settlement
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Class pursuant to Rule 23(c)(2)(B) of the Federal Rules of Civil Procedure, and to properly
administer the Class, the Parties and the Claims Administrator need access to information
maintained New York City Police Department (“NYPD”) and certain other City agencies,
including information from relevant records that may be protected by federal, state and local
laws, including 5 U.S.C. § 552a, FR.C.P. 5.2, and N.Y. C.P.L. §$§ 160.50 and 160.55, 720.15,

and/or 720.35 and which cannot be disclosed without appropriate authority; and

WHEREAS, any and all information provided to the Claims Administrator, Class
Counsel, and certain relevant City agencies as part of the claims adininistration process described
in the Stipulation shall be kept confidential and not be disclosed to anyone except as described
herein,

NOW, IT IS HEREBY STIPULATED, ORDERED, ADJUDGED AND
DECREED AS FOLLOWS:

(a) The Parties are authorized to provide the Class Administrator with the
information required to comply with the terms and responsibilities set forth in the Stipulation.
This includes, but is not limited to, the infonnation described in paragraph 51 of the Stipulation,
and the full names, aliases (if known), Social Security Numbers (when appropriate), dates of
birth, summons numbers, arrest numbers, NYSID numbers and last known addresses of Class
Member.

(b) Any information provided to the Claims Administrator solely for
purposes of administering the settlement in this Action shall remain confidential. Further, this
infonnation may not be disclosed to anyone except Class Counsel, Defendants’ Counsel, certain
City agencies (including but not limited to, NYPD, Human Resources Administration (“HRA”),

and the Comptroller’s Office), the Claims Administrator, and, if necessary, the Court (with an
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application to file under seal). Class Counsel and the Administrator shall not disclose this
information to any person not a member of their staff and only when necessary to facilitate the
terms and conditions of this Stipulation; however, Class Counsel and the Claims Administrator
may, if necessary, disclose confidential information concerning a Class Member to that Class
Member.

(c) The records in the possession of the NYPD and produced in discovery
to Class Counsel, pertaining to members of the Settlement Class, and that are sealed pursuant to
the provisions of 5 U.S.C. § 552a, F.R.C.P. 5.2, and N.Y.C.P.L §§ 160.50, 160.55, 160.58,
720,15, and/or 720.35, are hereby unsealed for the limited purpose of allowing the Parties to

transmit any identifying information pertaining to members of the Settlement Class contained in
the sealed records as described herein.

Date: March 17, 2023
New York, New York

Attorneys for Plaintiffs

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By:
Genevieve Melson
Omar Siddiqi
Jenny Weng

 

 

 

HONORABLE COLEEN MCMAHON
United States District Judge
Southern District of New York

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